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 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6
     UNITED STATES OF AMERICA,                         )
 7                                                     )
                              Plaintiff,               )    Case No. MJ08-409
 8                                                     )
           v.                                          )
 9                                                     )    DETENTION ORDER
     GEORGINA FERNANDEZ,                               )
10                                                     )
                              Defendant.               )
11                                                     )

12   Offense charged:

13         Conspiracy to Distribute Methamphetamine.

14    Date of Detention Hearing: September 18, 2008.

15         The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and

16    based upon the factual findings and statement of reasons for detention hereafter set forth, finds

17    that no condition or combination of conditions which the defendant can meet will reasonably

18    assure the appearance of the defendant as required and the safety of any other person and the

19    community.

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21         (1)      Defendant has been charged by complaint with Conspiracy to Distribute

22    Methamphetamine.

23         (2)     The Court received no information about defendant’s personal history, residence,



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 1    family ties, employment history, or health.

 2         (3)        Because defendant is not a citizen, an immigration and customs detainer has been

 3    lodged against her. In view of these circumstances, the defendant through her attorney stipulated

 4    to detention.

 5         It is therefore ORDERED:

 6         (1)        Defendant shall be detained pending trial and committed to the custody of the

 7    Attorney General for confinement in a correctional facility separate, to the extent practicable,

 8    from persons awaiting or serving sentences, or being held in custody pending appeal;

 9         (2)        Defendant shall be afforded reasonable opportunity for private consultation with

10    counsel;

11         (3)        On order of a court of the United States or on request of an attorney for the

12    Government, the person in charge of the correctional facility in which Defendant is confined shall

13    deliver the defendant to a United States Marshal for the purpose of an appearance in connection

14    with a court proceeding; and

15         (4)        The clerk shall direct copies of this order to counsel for the United States, to counsel

16    for the defendant, to the United States Marshal, and to the United States Pretrial Services Officer.

17         DATED this 18th day of September, 2008.

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19                                                           A
                                                             BRIAN A. TSUCHIDA
20                                                           United States Magistrate Judge

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     DETENTION ORDER -2
